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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
__________________________________________
 C.D., by and through her PARENTS and NEXT )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                  )
                      Plaintiffs,            )
                                             )
    v.                                       )   Civ. Action No. 15-13617-FDS
                                             )
NATICK PUBLIC SCHOOL DISTRICT,               )
and BUREAU OF SPECIAL EDUCATION              )
APPEALS,                                     )
                              Defendants.    )
__________________________________________)

         BUREAU OF SPECIAL EDUCATION APPEALS' OPPOSITION TO
       PLAINTIFFS' SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT

       The Bureau of Special Education Appeals (“BSEA”) joins and incorporates herein the

Natick Public School District’s Opposition to Plaintiffs’ Supplemental Motion for Summary

Judgment [Docket No. 94]. Plaintiffs’ Supplemental Motion for Summary Judgment [Docket No.

91] should be denied and summary judgment should enter for BSEA and the Natick Public School

District, affirming BSEA’s decision.

                                          Respectfully submitted,

                                          BUREAU OF SPECIAL EDUCATION APPEALS,

                                          By its attorney,

                                          MAURA HEALEY
                                          ATTORNEY GENERAL

                                           /s/ Anna Rachel Dray-Siegel
                                          Anna Rachel Dray-Siegel, BBO# 679443
                                          Assistant Attorney General
                                          Office of the Attorney General
                                          One Ashburton Place, 20th Floor
                                          Boston, MA 02108
                                          (617) 963-2022	
                                          Anna.Rachel.Dray-Siegel@state.ma.us
Dated: June 26, 2018
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                                CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing, and
paper copies will be sent to those indicated as non-registered participants on June 26, 2018.

                                                            /s/ Anna Rachel Dray-Siegel___
                                                            Anna Rachel Dray-Siegel




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